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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

SYSINFORMATION HEALTHCARE
SERVICES, LLC d/b/a EQUALIZER CM
SERVICES,

     Plaintiff,                                           Case No. CIV -18-152-SLP

v.

PAULS VALLEY HOSPITAL AUTHORITY
d/b/a
PAULS VALLEY GENERAL HOSPITAL

     Defendant.


                  FIRST AMENDED COUNTERCLAIM
                  COUNT 1: NEGLIGENCE AND BREACH OF CONTRACT

     1. As alleged in the Termination Agreement (Doc. 22-1), the parties entered into

        a Master Services Agreement (“MSA”) on November 18, 2013.

     2. Under the MSA, plaintiff was obligated to provide certain services to

        defendant, including the processing claims with health insurers, Medicare,

        Medicaid, and other third-party payers and other actions needed to collect

        defendant’s accounts receivable.

     3. Plaintiff breached the MSA by failing to adequately perform its obligations

        under the MSA. Plaintiff’s breaches included:

            a. Allowing time limits for filing claims to pass without having properly

                  filed claims with third-party payers.


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              b. Improper posting of payments.

              c. Failure to adjust accounts as required by applicable regulations and/or

                  contracts with third-party payers.

              d. Failure to identify, process and refile claims which were rejected for

                  insufficient information and other problems that could have been cured.

              e. Failure to identify and attempt to collect remaining account balances

                  after all funds due from third-party payers have been collected.

       4. Plaintiff’s breach has caused the defendant to suffer lost income and additional

          expenses in excess of $75,000 (the exact amount of which is not currently

          known).

       5. As provided in paragraph 4 of the Termination Agreement (Doc. 22-1),

          defendant reserved its right to assert its claims against the plaintiff.

       Defendant therefore demands judgment against the plaintiff for its damages, which

are in excess of $75,000, together with interest and costs (including a reasonable attorney

fee), and for such further relief as the defendant may be entitled.

                  COUNT 2: DETERMINATION OF SECURITY INTEREST

       1. On February 15, 2018, the plaintiff took intentional action on its known right

          in security interests in the defendant’s property (see Doc. 1-3, p. 10 for a list of all

          property) by filing its Complaint. See Complaint (Doc. 1), ¶¶ 7-8 and the

          second page of Exhibit C of the Complaint (Doc. 1-3).




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     2. On April 19, 2018, the defendant filed its first Motion to Dismiss for Failure to Join

        Indispensable Party and Supporting Brief (Doc. 19) based on the fact that the plaintiff

        was claiming a security interest in defendant’s property but had failed to join other

        creditors – such as NewLight Healthcare LLC (“NewLight”) – which hold a security

        interest in the same property.

     3. Rather than respond to the motion, and rather than have this case dismissed, the

        plaintiff, with full knowledge of the material facts in this case, filed an Amended

        Complaint (Doc. 22) omitting all claims to the collateral that were included in the

        original Complaint in an effort to preserve complete diversity and remain in federal

        court.

     4. The plaintiff’s intentional abandonment or relinquishment of its known right to the

        security interests in the collateral made NewLight no longer an indispensable party,

        and the Court denied defendant’s motion as moot. Order (Doc. 24).

     5. The plaintiff’s actions were and are inconsistent with the right or intention to

        rely upon the rights in its security interests in the defendant’s property.

     6. The plaintiff’s refusal to release its UCC filing of record on the defendant’s

        property is a breach of the duty owed by the plaintiff to the defendant to

        remove cloud on the title of the defendant’s property.

     7. The plaintiff’s refusal to release its UCC filing of record on the defendant’s

        property constitutes a failure to exercise ordinary care to avoid injury to the

        defendant and its property.




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       8. The plaintiff’s refusal to release its UCC filing of record on the defendant’s

          property has been both an actual and proximate cause of the defendant’s

          inability to refinance debt and of the closure of the defendant’s hospital.

       9. The plaintiff has unreasonably delayed the commencement of proceedings to

          enforce its claim to the defendant’s property, and the defendant was materially

          prejudiced by this delay in that defendant has been unable to refinance debt

          and to continue operations of the defendant’s hospital.


       Defendant therefore demands judgment against the plaintiff for its damages, which

are in excess of $75,000, together with interest and costs (including a reasonable attorney

fee), and for such further relief as the defendant may be entitled, and declaring that the

plaintiff’s claimed security interests in the property owned by the defendant have been

released and are no longer valid, and ordering the plaintiff to release of record its security

interests in the defendant’s property.




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                                                     GARVIN AGEE CARLTON, P.C.




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JURY TRIAL DEMANDED.


                              CERTIFICATE OF SERVICE

 I hereby certify that on December 21, 2018, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:

      Jesse R. Cloyd
      Jerome S. Sepkowitz
      Charles M. Tatelbaum




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